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      UNITED STATES DISTRICT COURT                              The Government then sought criminal
      SOUTHERN DISTRICT OF GEORGIA                           forfeiture but the parties -- including each
           SAVANNAH DIVISIO N
                                                             Bradley's wife -- settled via Consent Orders
UNITED STATE S                                               directing $39 .5 million in forfeiture and, to that
                                                             end, appointing a Receiver and Monitor to
V. 405CRO59                                                  marshal the defendants' forfeited assets,
                                                             including Bio-Med and its inventory . Doc. #
MARTIN J. BRADLEY, HI, et al .
                                                             598 ("Consent Preliminary Order of
                       ORDER                                 Forfeiture") ; # 599 ("Order Appointing
                                                             Receiver and Monitor"). Those Orders
I . BACKGROUN D                                              identified "exempt" and "non-exempt" assets
                                                             over which the Receiver retained varying
   No other criminal case in the Court's                     degrees of liquidation authority, depending on
memory has consumed as many judicial                         whether and when each defendant met his
resources as this . Between the Magistrate Judge             forfeiture obligation . See U.S. v. Bradley, 513
and the undersigned, over two hundredpages of                F.Supp .2d 1371 (S .D.Ga. 2007) ; doc. # 934 .
judicial rulings' have been generated in an
attempt to resolve the criminal liability and                   The parties also agreed that if the defendants
forfeiture/sentencing issues arising from this, a            failed to disclose any forfeitable property to the
complex criminal RICO prosecution stemming                   Government, the Government could pursue
from a prescription-drug-based fraud scheme .                same without restriction, and in addition to the
                                                             $39,500,000 forfeiture (hence, they would
   The scheme was advanced in varying degrees                constitute "additional forfeitures") :
by eight individual and two corporate
defendants . Doc. # 1 ; # 106 at 2 . A jury                     To the extent that assets are discovered or
convicted Martin J. Bradley, Jr., Martin J.                     identified which have not been identified
Bradley, III, Albert Tellechea and Bio-Med                      to the government in the course [of]
Plus, Inc. (Bio-Med). Doc. ## 738-41 .                          negotiations related to this order, the
                                                                [G]overnment is free to pursue at its
                                                                discretion those newly discovered assets
                                                                in addition to the $39,500,000 judgment
 1 See Orders an d Judgments docketed at ## 4, 9 , 20, 22,      entered in the Preliminary Order of
24, 26, 28, 29, 34, 49, 60-63, 65, 67, 70, 72, 74, 75, 84,      Forfeiture.
89,100 , 110, 118 , 120, 126, 129, 138 ,140, 144, 147,148,
155, 165, 166, 182, 203, 205, 206, 210, 223, 231, 232,       Doc . # 599 at 13 .
241, 249, 261, 262, 265, 269, 273, 276, 290, 292, 295 ,
298, 299, 309, 312, 318, 324-327, 336, 338, 340, 345 ,
349,350,356,363-365,373-376,384,385,393,395,404,                The Court later extended the Receivership to
413,415,421,422,426,433-436,441,443,445,453-457,             liquidate the defendants' assets (except
460,467-471,477,478,495,499-501,505,506,508-512,             Tellechea's) to pay their sentencing obligations .
522,523,527-529,531,537-539,541,543,544,546-552,             Doc . ## 789, 790 . Tens of millions of dollars
554, 555, 562, 598-601, 603-07, 613-615, 619, 622, 631,
                                                             are in play. Bradley, 513 F .Supp.2d at 1372 .
635, 639, 640, 642, 646, 647, 651, 652, 657, 688-691,
700, 702, 722, 727, 737, 738-741, 745, 746, 748, 750,
778-780,786,789-791,803,805,808,826,847,849-851,                The defendants appealed the judgments
857, 859, 872, 882, 885, 892, 900, 903, 905, 906, 909,       against them in 2006. Doc. ## 743, 749, 753,
921, 933, 934, 955, 956, 960, 969, 988, 989, 991, 992,       755. Those appeals are pending. Except that it
1005, 1016, 1026, 1028, 1040, 1042, 1043, 1048, 1055,
1057, 1069, 1076, 1079 .
                                                             is now 2008 and the Court is still issuing post-
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judgment Orders in an effort to wind up the
forfeiture/sentencing phase of this case .                 (2) If Bio-Med has paid its [$13 .16]
                                                           million forfeiture obligation, and that
   Much of the litigation has flowed from : (1)            payment in fact has benefitted one or both
the entanglement ofthe Bradley wives' interests            of the Bradley defendants, then the
in their husbands' assets , see, e.g., Bradley, 513        Receiver shall inform the Court what that
F.Supp .2d at 1379-80 ; U.S. v. Bradley, 2007              amount is, with the aim of then liquidating
WL 3046490 at * 4-5 (S .D.Ga. 10/16/07)                    (from the asset pool of such beneficiary)
(unpublished) ; doc . # 1042, as amended, doc. #           first his non-exempt, then his exempt,
1057; and (2 ) issues like whether the defendants          assets until that defendant meets his
owe interest on the fines imposed against them ;           [$13 .16] million forfeiture share (the
the proper accounting of assets collected for              Court will entertain a motion from such
each defendant (i. e., who owned what, and thus            defendant on which of his exempt assets
how much should be credited to each defendant              he prefers to be liquidated first, etc .).
on his forfeiture/sentencing obligations) ; the
proper priority for forfeiture/sentencing                  (3) Once all three defendants are shown
obligation payments, Bradley, 513 F . Supp .2d at          to have paid their [$13 . 16] million
1375-77 ; and whether any defendant has                    forfeiture share , then (a) the Receiver
actually met his $13 .16 million forfeiture                shall not, directly or indirectly , liquidate
obligation (at that point the Receiver' s asset-           any Bradley asset to pay Bio-Med's
liquidation authority is altered, see id. at 1377) .       sentencing obligation (again , the Bradleys
Familiarity with the facts and issues set forth in         are not jointly and severally liable on that
the Court's prior orders to date is assumed here .         debt) ; (b) for any Bradley sentencing debt
                                                           left unpaid, the Receiver shall adhere to
   Much of the delay in this case has arisen               [as set forth in Bradley, 513 F .Supp .2d at
from the parties' failure to sit down and review           1377] the "step 3" regime (each Bradley
property-ownership documents and respond to                defendant gets to choose which of his
each others' assertions . The Court thus ordered           remaining assets are to be liquidated first
them to meet in good faith . Bradley, 2007 WL              until his debt is paid) .
3046490 at * 13 . In extending the
Receivership's tenure to 12/31/07 (it has thus             (4) All interested parties shall, within 15
expired, and is now sought to be renewed here),            days . . . brief the Court on the fine-interest
the Court also provided additional instructions :          issue (the Government expressly excluded
                                                           interest in its proffered liquidation plan --
   (1) In dollar terms the Receiver shall                  does it concede the defendants' contention
   promptly report to this Court what Bio-                 that no such interest is due?) .
   Med has paid toward forfeiture (from the
   briefs the Court gathers that Bio-Med has               (5) After steps (1) - (4) [were] met, the
   paid its full [$13 .16] million share) and              parties [were to] in good faith confer over
   what it has paid toward its sentencing                  what, if anything, remains to be paid and
   obligations (evidently, something far short             what asset-sifting/sorting they can agree
   of its total), and what (from any pending               upon, then jointly move the Court for an
   or anticipated liquidations) Bio-Med can                asset-sorting hearing if they cannot (the
   reasonably be expected to pay further .                 Court will then hear testimony and resolve


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   any conflicting ownership/improper                              1100 (Norma Bradley objects) ; # 1101 (Bradley
   payment-crediting claims) .                                     III and his wife object) .

   (6) Also after steps (1)-(4), and especially                       The Court also has entered additional Orders,
   if step (5) cannot be fulfilled regarding                       including one which directed the Government
   joint-agreement on what remains to be                           and Receiver to respond to former-defendants'
   paid, the Government and Receiver [were                         arguments against the Receiver's efforts to
   to then] submit to the Court a unified,                         collect on debts she claims they owe Bio-Med,
   clear and accurate enumeration of (a)                            U.S. v. Bradley, 2007 WL 3132670 (S .D.Ga.
   who has paid what amounts of forfeiture,                         10/22/07) (unpublished) (hereafter, the "third
   sentencing obligations, etc ., and what,                        party debt" issue) ; doc. # 1048,3 and another
   consistent with this Court's clarification,                     that sought further information relating to the
   is proposed in the way of any further                           "PDMA" drugs (Bio-Med pharmaceutical assets
   liquidation. The defendants [would then]                        slated for destruction for want of proper
   have 10 days thereafter to object.                              "paperwork lineage") discussed in prior Orders .
                                                                   See doc. ## 903, 933,1044, and U. S. v. Bradley,
Bradley, 2007 WL 3046490 at * 12-13 .                              2007 WL 3046516 (S .D.Ga . 10/17/07)
                                                                   (unpublished) .
   Finally , the Court "reminded the parties that
this should be more of an accounting and                           II. ANALYSIS
mathematical exercise at this juncture , and less
a legal dispute ." Id. Also, the Government and                       A. Receiver ' s Liquidation Progress
Receiver were directed to rebut allegations the
Bradleys made concerning ownership of assets .                        As of 10/29/07, according to the Receiver,
Id. The Court underscored the fact that "many                      "no amount of the Forfeiture Judgment [had]
of the disputes raised here should be resolved                     been paid on behalf of any Defendant ." Doc. #
without inches of briefs , hearings , etc." Id.                    1061 at 1 . By then the Receiver had collected
                                                                   $44,311,216, of which $40,304,843 was being
    Since that Order (doc . # 1042), over 60 more                  held in Receivership bank accounts, $2,000,000
filings have loaded up the docket,2 including yet                  has been deposited by Norma Bradley into the
another motion to extend the Receivership --                       registry of the Court and only $2,000,000 had
this time until 3/31/08 . Doc. # 1094 ; see                        been delivered to the U.S. Marshal ($1,000,000
also doc. # 1099 (the Government concurs) ; #                      by Maria Bradley pursuant to the Consent
                                                                   Forfeiture Judgment and $1,000,000 of the
                                                                   proceeds of liquidations of property owned by
  2 On the eve of Order # 1042, the Receiver moved the             Martin J . Bradley, III) . Id. at 1-2. Then-
Court to direct Maria Bradley "to turn over to the                 pending objections to her proposed liquidation
Receiver $2,830,605 .51 she received for income tax                plan stalled her liquidation efforts, the Receiver
refunds ." Doc . # 1041 . The Court did not reach it               claimed.
because the time to respond to it had not yet elapsed .
Maria and her husband have since responded by moving
the Court to deposit that as well as a 2005 tax year refund
into the Court's registry . Doc . # 1062 . Pending a ruling
on this motion, defense counsel is retaining in an interest-        3 She has done so, doc . # 1070, and the three debtors
bearing account yet another tax refund, this time from the         have replied . Doc . ## 1074 , 1077, 1081 ; see also doc. ##
2006 tax year, totaling $2,632 . Doc . ## 1091, 1092 .             1083 , 1086, 1096 .

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   Noting her earlier response (doc . # 1047) to            [t]hat BioMed amounts available to pay
those objections, the Receiver explained that               the $39 .5 million Forfeiture judgment are
                                                            subject to BioMed's claims process .4 In
   the Bradley Defendants and their wives                   [the] schedule [showing how the Receiver
   have raised objections to many of the                    has allocated liquidation proceeds], no
   Receiver's proposed allocations of the                   provisions for claims have been made .
   proceeds of properties she has liquidated
   and otherwise collected . Of the amounts              Id. at 8 (footnote added). Her "[a]nalysis also
   [the Receiver then specified], only the               excludes an alleged $7 .4 million shareholder
   following amounts for each Forfeiture                 loan to BioMed which Maria and Bradley III
   Defendant is not subject to any objection :           claim are due to them ." Id. Disputes also
   Bio-Med $20 .7 million, Martin J . Bradley,           remain over realty, cash and other tangible
   III $1 .1 million and Martin J. Bradley, Jr .         assets . They arise not only from the Bradley
   $62,000. Many of the objections raised                defendants and their wives but other pending
   involve factual disputes as to the                    litigation (in this and other courts) . Id. And,
   appropriate ownership interests of the
   various parties as to certain entities whose             in the event the following assets are
   property has been, or may be, liquidated .               classified as additional forfeitures, they
   Because the Receiver is unable to resolve                will not be available to pay $39 .5 million
   these factual disputes, she has identified               forfeiture judgment or the monetary
   them to the Court for resolution .                       penalties [ :] 22 Wrights Point and 72 .21
                                                            acres in Georgia .
Doc. # 1061 at 2 . Since ownership issues
needed resolution, and the Government was                Id. There also remains litigation (in another
advancing its own liquidation plan, she                  court) to determine the rightful purchaser of a
concluded that an evidentiary hearing might be           boat slip subject to forfeiture . Id. And, the
warranted. Id. at 2-3 . In response, the Bradleys        third-party debt issues remain . See infra Part
insist that the delivery (to the Receiver) of the        II(G)(2) . Too, the Court still has before it the
money and personal property attributable to the          Receiver's motion to dispose of what are known
Bradley defendants has discharged part if not all        as "PDMA" drugs . See U.S. v. Bradley, 2007
of the Bradley defendants' forfeiture/sentencing         WL 3046516 (S .D.Ga.10/17/07) (unpublished) ;
obligations . Doc. # 1064 at 1 .                         doc. # 1044 .

   By the time of the Receiver's 12/12/07, 30-              Meanwhile the Monitor, who is monitoring
day report, some $62,436,867 in assets , "net of         the Receiver, keeps coming up with different
contingent assets ," had been liquidated . Doc . #       numbers . It says (as of its 10/30/07 Report),
1089 at (EC/EMF screen page) 6 . The                     that the Receiver has "in excess of $51 million"
Receiver's "Summary of Proceeds" reveals a               available for distribution . Doc. # 1098-2 at 2 ,
12/1/07 total of $44,238,199 . Id. at 6. Yet,
there are still plenty of complications hindering
final liquidation, proper allocation of the
proceeds, and thus payment to the U .S.                    ' Third party creditors, etc ., needed to be paid ahead of
Government. She cites, as an example, the fact           payment to the Government, so the Court has been
                                                         routinely authorizing a notice and claims process . See,
                                                         e.g., doc . ## 1076, 1082, 1095 .

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15; # 1098-3 at 20 .5 The Monitor furnishes an
asset liquidation chart of its own, which reveals                    B. Tax Refund s
a "Potential Liquidation Total" of $74,349,452 .
Id. at 18, 24 . Little changed from this period to                   Martin J . Bradley, III and Maria Bradley
its 12/19/07 Report period . See doc. # 1098-3 at                 move the Court for leave to deposit their
2 ; # 1098-4 at 2, 8 ($74,151,552) .                              personal federal tax refund checks ($756,547 .54
                                                                  for tax year 2005, and $2,074,057 .97 for tax
   As for how much of the forfeiture obligation                   year 2002) into an interest bearing account,
has been satisfied, the Monitor deviates from                     contending that the Receiver seeks them, but
the Receiver . The Monitor said this on 9/27/07 :                 given the aforementioned ownership/valuation
                                                                  disputations, the funds are best placed in the
   Under options implicit in the [Receiver's                      Court's registry . Doc. # 1062 . See supra n . 2.
   Liquidation] Plan it appears that forfeiture                   This motion need not be reached in light of the
   obligations of some of the defendants may                      result reached below, though it may have to be
   have been satisfied through the sale of                        resolved in the post-appeal future .
   their assets to date . As a result, it follows
   that the [Government] consider directing                           C. Fine Interest
   the Receiver or ask the court to suspend
   sales activity of the Receiver relating to                        A big factor influencing whether the
   assets of those individuals in so far as                       Receiver can conclude that the
   those sales may be scheduled under the                         forfeiture/sentencing obligations have been
   procedures relating to the forfeiture order                    satisfied (thus terminating the Receivership) is
   rather than satisfaction of fines.                             the amount of interest that the Bradley
                                                                  defendants must pay on their fines. Both
Doc. # 1065 at 2 ¶ 2 .1 .                                         Bradley defendants and their wives now insist
                                                                  that the Court has authority (under 18 U .S.C. §
   Thus, there has been no agreement between                      3572(f)(3)) to, and should, reduce or limit the
the Receiver and the Monitor on when to cease                     interest accrued upon their fines .6 Doc . # 1064
liquidating the defendants' assets in order to                    at 1-8 . They argue that it is absurd to freeze the
satisfy the defendants' forfeiture obligations .                  Bradley defendants' assets (via exertion of
                                                                  Receivership control over same) and then
   In short, this area remains a tangled mess,                    penalize these defendants by subjecting them to
and the parties have yet to agree upon and thus                   interest that would not have accrued had thei r
present a clear, accurate recitation of who owns
what, how much has been collected, who should
get payment credit, and what precise                                 6 While no interest accrues on the forfeiture amount,
forfeiture/sentencing amounts remain to be paid.                  doc. # 598 at 3, each Sentencing Judgment specifies that
And now a new asset has surfaced -- tax                           "[t]he defendant must pay interest on restitution and a fine
refunds . The parties are fighting over that, too .               of more than $2,500, unless the restitution or fine is paid
                                                                  in full before the fifteenth day after the date of judgment,
                                                                  pursuant to 19 U.S .C. § 3612(f) ." See, e.g., doc . # 740 at
                                                                  7 . No such payment was made by the fifteenth day, so
 s The Government (by its silence) evidently has decided          interest accrues on the restitution and fine obligations .
that it has no problem with the Receiver's alleged conflict       Actually, since the restitution is, via consent order,
as described by this Report. Doc . # 1098-2 at 2, 14-15 ;         equated to the forfeiture, which is exempt from interest,
see also doc . # 1098-3 at 3, 18-19 .                             only each defendant's fine can run the interest clock .

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assets not been frozen and their fines thus                    requirement that the defendant will notify
timely paid. Id. at 2-4 .                                      the court of any material change in the
                                                               defendant's economic circumstances that
   The Government's "tough-cookies"                            might affect the defendant's ability to pay
response :                                                     the fine . Upon receipt of such notice the
                                                               court may, on its own motion or the
  The Judgment Orders entered against                          motion of any party, adjust the payment
  Defendants Bio-Med Plus, Martin J .                          schedule, or require immediate payment in
  Bradley III and Martin J. Bradley, Jr . each                 full, as the interests of justice require .
  provide the following : "The defendant
  must pay interest on ... a fine of more than                 Here the Court ordered lump-sum payments,
  $2,500, unless the . . . fine is paid in full             not installment payments, so § 3572(d)(3) does
  before the fifteenth day after the date of                not apply. Baez v. U.S., 2007 WL 638198 at *
  judgment, pursuant to 18 U.S.C. §                         3 (D.Conn. 2/23/07) (unpublished) ("[ B]ecause
  3612(f) ." The Defendants did not pay                     there is no installment schedule in place for the
  their fines within fifteen days of the                    court to modify, § 3572(d)(3) does not apply") .
  Court's judgment ; they now must pay
  interest . See United States v. Simmons,                     Defendants contend that § 3572(d)(3) should
  2007 WL 2345246 (S .D.Ga.) (recognizing                   be read in conjunction with 18 U .S.C. §
  that the defendant "did not pay his fine                  3612(f)(3)(A), which provides that "[i]f the
  within 15 days of the Court' s judgment, so               court determines that the defendant does not
  now he must pay interest") . Importantly,                 have the ability to pay interest under this
  none of the Defendants have moved the                     subsection , the court may ... waive the
  Court to modify the fine imposed by                       requirement for interest." Id., cited in doc . #
  eliminating the interest obligation.                      1064 at 5 .

Doc. # 1066 at 1 .                                             Whether a court can modify the interest (as
                                                            opposed to original fine) obligation fetches
    In fact, while no formal motion has been                some fairly technical if unsatisfying
filed, the defendants have repeatedly objected to           distinctions . See U.S. v. Messier, 2007 WL
the interest obligation, see, e.g., doc. # 993 at 6 ;        1821687 at * 1(D .Conn. 6/25/07) (unpublished)
# 1064, and it is telling that the Government               (discussing when § 3612(f)(3) may be applied
fails to respond to the defense's main argument             to restitution obligations) ; U.S. v. Higham, 2006
-- that it is absurd to in effect freeze their assets       WL 3359430, * 2 (N .D.Ill 11/16/06)
and thus prevent them from paying their fines,              (unpublished) . Most courts say that "only the
then charge them interest for ... failing to pay            government has the authority under 18 U.S.C. §
their fines .                                               3 573 ... to petition for modification or remission
                                                            of a fine ...." U.S. v. Muncy, 137 Fed.Appx . 582,
   For that matter, the defendants cite the same            582 (4th Cir. 2005) . Does that extend to interest
statute this Court analyzed in Simmons -- 18                to be paid on it? In light of the result reached
U.S.C. § 3572(d)(3) . That statute provides :               below, it is not necessary to reach this issue
                                                            now . However, the Court has hashed out the
   A judgment for a fine which permits                      arguments because there remains a fairly good
   payments in installments shall include a                 chance that it will have to revisit this issue i n


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the future, depending on how the appeals are             Bradley's 12/26/07 "response" (stating neither
resolved.                                                approbation nor opposition to the receivership-
                                                         extension motion) indicated that she also
   D. Stay of Property Sale                              continued to negotiate . Doc. # 1097 .

   Contending that the Receiver has already                 The Government announced that on 1/7/08 it
collected more than enough to satisfy his $13 .16        would identify the "issues it believes the Court
million forfeiture obligation, defendant Martin          should address at the hearing proposed by the
J. Bradley, III moves the Court to stay the sale         Receiver ." Doc . # 1099 . On 1/7/08, it
of his Key West, Florida property . Doc . # 1075 .       represented "that the parties are attempting to
The Receiver disagrees . Doc. # 1084 at 2                resolve certain issues so that a hearing will not
(insisting that she "has allocated [only]                be required at this time . The Government
approximately $9 .446 million from the                   expected to advise the Court on further
liquidation of and/or collected from assets,             developments by Friday, [1/11/08] ." Doc. #
which allocation is undisputed, to Bradley, III          1103. No "advice" was received on 1/11/08 .
for payment of his $13 .16 million portion of the
Forfeiture Judgment") . Bradley III disputes the           However, on 1/18/08 the Receiver, "solely in
values that she assigns to the disputed                  her capacity as Receiver for [Bio-Med]," the
allocations, so the sale should be stayed until          Bradley defendants (hence the "Forfeiture
the Court resolves them . Doc . # 1090 . This has        Defendants"), the Government, and the Bradley
been a negotiating-table issue, and in light of          wives ("the Movants") jointly moved the Cour t
the parties' joint consent motion reached infra,
the Court denies motion # 1075 as moot .                    for an order (1) staying the Receiver's
                                                            liquidation of certain receivership assets
   E. Settlement Conferences                                during appeals, (ii) staying the accrual of
                                                            interest on the Court's judgments for
   As noted in the foregoing sections, plenty of            restitution and fines in the above-styled
issues continue to swirl around in this case, yet           case from the date the order is entered by
remain unresolved . The Bradley defendants and              the Court, and (iii) extending the
their wives noted, however, that there would be             Receiver's deadline to satisfy the Consent
an 11/2/07 "conference for all interested parties           Preliminary Order of Forfeiture (Doc .
(including counsel for the Receiver and the                 #598) ("Forfeiture Judgment") .
Government)" to resolve the questions then
raised surrounding the Receiver's liquidation            Doc. # 1106 at 1 .7
plan, and thus suggested that the Court "not take
up these questions until the results of that                To that end, the movants state that (a) the y
conference are communicated to the Court ."
Doc. # 1064 at 1 n . 2.
                                                             The face of this motion mentions defendant Albert
    The Receiver reported that the 11/2/07               Tellechea, doc. # 1106 at 1, but no signature from his
conference occurred but did not globally resolve         counsel shows up on the motion's signature pages, so the
all remaining issues . However, the parties were         Court presumes that the motions's drafter erroneously
still negotiating, and she would notify the Court        included Tellechea's name . Tellechea, for that matter, has
if a hearing is required . Doc. # 1071 . Norma           no dog in the above-detailed forfeiture/sentencing
                                                         obligation/liquidation fight .

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"have been unable to agree on allocation of             suspension of resolution of various other issues
receivership proceeds and the Receiver's                (e.g., the shareholder loans to Bio-Med) . Id.
liquidation of certain receivership assets" ; (b)
the Receivership - extension motion is still               F . Issues Not Resolved by Motion # 1106 .
pending ; (c) because most of the liquidation-
plan objections have not been resolved, the                The Court discerns no mention, however, of
Receiver has still not paid the Forfeiture              the "PDMA inventory" matters, much less the
Judgment ; and (d) se ttlement conferences held         third-party debtor matter (i.e., the Receiver's
on 11 /2/07, 1/4/08 and 1/8/08 failed. Id. at 4 ¶       claims against acquitted defendants to whom
9. But all agre e                                       Bio-Med lent money for defense costs) .' The
                                                        Court therefore assumes that the PDMA matter
   that resolution of the Objections is                 has been resolved. In the meantime, and
   fundamental to allocation of receivership            especially for the purpose of ending any
   proceeds to pay the Forfeiture Judgment              question that this case is on appeal (thus,
   as directed by [this Court] . The Movants            divesting this Court of further jurisdiction to
   further agree that there are issues pending          act), the Court will resolve the receivership-
   on appeal that are fundamental to the                extension and third-party debtor issues here .
   resolution of the Objections ; including,
   but not limited to, whether [this] Court                G. Issues Resolved Here
   had authority to extend the receivership to
   collect monetary penalties and whether                        1 . Extending the Receivership
   the Court has authority to assign liability
   for payment of one-third of the Forfeiture              The Court grants the Receivership extension
   Judgment to each of the Forfeiture                   motion, doc . # 1094, and extends the
   Defendants .                                         Receivership indefinitely (it simply wastes this
                                                        Court's resources to repeatedly handle
Id. at 4.                                               extension motions, and no one is seriously
                                                        suggesting that the Receiver is not moving with
    Thus, the Movants have worked out a "stand-         all deliberate speed in this case) until further
still" Consent Order, which this Court will enter       Order of this Court .
alongside this Order, essentially locking down
moneys and assets pending resolution of the                       2. Third Party Deb t
pending appeals in this case . Doc . # 1106 at 4-
8. Among the stipulations reached include the              In liquidating Bio-Med, the Receiver
Government's motion to stay further interest on         encountered Bio-Med's post-indictment , pretrial
the fines (granted by the Consent Order) ;              loans to former Bio-Med employees who were
authority for the Receiver to sell the "4 Mall          tried and acquitted in this case: Sara E . Griffin
Court" property and retain custody of the               (two promissory notes totaling $255,357 .12),
proceeds pending further Court order ; deposit of       Jose A . Trespalacios (two promissory note s
the afore-mentioned tax refunds in a joint-
control (by the Receiver and Maria Bradley)
account ; an agreement that the Receiver will not          S As of 11/5/07, "[t]he Receiver's evaluation of all
liquidate specified properties, thereby enabling        alleged non-pedigreed inventory [was] ongoing," doc . #
the Court to deny motion # 1075 as moot ; and           1068 at 3 ¶ 7, and this was assisted by an independent law
                                                        firm's analysis . Id. at 1-2 .

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totaling $527, 844.11 ) and Edwin Rivera, Jr .             indemnification costs. Id. at 5-6 .
(two promissory notes totaling $ 335,682 .40) .
Doc. # 925 at 1-2 . These individuals sought                  But Trespalacios and Rivera, the Receiver
cancellation of these debts because, they                  contends, were not Bio-Med officers, directors
contend, they are entitled to indemnification              or agents ; instead, they merely held ownership
from Bio-Med . Id. at 2 ¶ 7.                               interests in Infustat, Inc ., Seratech, Inc . and
                                                           Dena, Inc . -- entities alleged by the Indictment
   Because these loans are Bio-Med assets, the             to have been utilized in the fraudulent scheme
Receiver seeks guidance . Id. at 3-6 . She thus            that drove the convictions in this case . Id. at 5.
moves the Court to determine whether they are
entitled to indemnification by Bio-Med (thus, be              In response, Trespalacios --joined by Rivera,
excused from repaying those loans -- all three             doc. # 939 -- moves the Court to strike the
have requested the Receiver to cancel their                Receiver's motion outright. Doc . # 937 . "It is
notes and thus release the mortgages they gave             noteworthy," Trespalacios asserts, that
as security, doc . # 925 ¶ 7) . But she also filed a
Florida state court proceeding against                        in the Receiver's . . . Motion, no mention is
Trespalacios . Doc. # 1070 at 2-3 .                           ever made of the crucial fact that there is
                                                              a previously filed and still pending Florida
   In this Court the Receiver argues that only                state court action in Miami-Dade County
Griffin may be entitled to indemnification, and               entitled Marta Alfonso, not Individually,
only for her reasonable legal defense expenses,               but Solely in her Capacity as Receiver
not automatic 100% loan forgiveness . Court                   Over Martin J. Bradley, III, Martin J.
approval is required for that. Doc . # 925 at 4-5;            Bradley, Jr. and Bio-Med Plus, Inc.,
see also id. at 6 (Receiver argues that if                    Plaintiff v. Jose A. Trespalacios,
Griffin's defense costs did not consume the                   Defendant, Case No . 06-24353 CA 06,
amount loaned, then Griffin may be required to                wherein the very subject matter presented
pay the excess back) ; doc. # 1048 (Griffin, in a             in the Receiver's Motion is also in issue .
filing unrebutted by the Receiver and the
Government, says she agreed to borrow up to                Doc . # 937 at 1-2 ; see also doc. # 957 at 2-3
$300,000 but actually received -- via Bio-Med's            (the Receiver acknowledges that she "filed an
direct payment to her defense counsel -- only              action in a Florida state court against
$255 .357 .12) . Otherwise, concludes the                  Trespalacios to enforce promissory notes
Receiver, Trespalacios and Rivera must pay up .            against [him] and to foreclose mortgages on
Doc. # 957 at 6 .                                          [his] real property in Florida . . . .");9 # 1070 at 2-

   The Receiver acknowledges that Bio-Med is
a Florida corporation, that Florida law                     9 "The gravamen of the allegations of the Florida state
authorizes corporations to indemnify corporate             court lawsuit," says Trespalacios ,
directors, officers and agents who are successful
                                                                   is that Trespalacios is responsible for
in legal proceedings against them, and that Bio-                   payment of promissory notes and
Med's By Laws provide for same. Doc. # 925                         mortgages purportedly executed in
at 3-4 . Griffin (Bio-Med's former Controller),                    favor of Bio-Med Plus, Inc . that relate
the Receiver concedes, therefore is entitled to                    to the financing of attorney's fees and
actually and reasonably incurred                                   costs expended by the defense in the
                                                                   prior criminal proceeding . The state

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5 (explaining that the Florida action has become                     in the pending state court action in any event .
bogged down in a side-issue -- whether the                           Id. at 2 .
Receiver should be disqualified there because,
Trespalacios alleges, she represented him as an                          He thus charges the Receiver with
attorney and accountant during the criminal case                     duplicative litigation: "Without question ... the
before this Court ; Trespalacios also                                Florida state court action addresses the identical
counterclaimed in the Florida case , contending                      issues presented by the Receiver's Motion....
that he has a right to set-off against the                           Moreover, the state lawsuit was purposefully
Receiver's claim there with his right to                             filed by the Receiver to collect monies allegedly
indemnification from Bio-Med for payment of                          due on a Florida promissory note, signed in
his defense costs in this case ; the Receiver has                    Florida by a Florida resident with all payments,
countered in that case, as she does here, that he                    if any, allegedly due in Florida ." Id. at 3.
has no right to indemnification from Bio-Med;
meanwhile, the Florida court has deferred ruling                        Worse, he contends, she in effect seeks an
pending this Court' s ruling) .                                      "advisory" opinion from this Court on
                                                                     Florida-law governed issues . Id. at 6; see also
   Trespalacios further contends that this Court                     doc. # 936 and attached supporting exhibits .
lacks jurisdiction because he has been acquitted                     And on top of all that, he insists, she has failed
here, and no other process has since been served                     -- in both cases -- to comply with the federal
upon him .10 Also, the issue should be resolve d                     statutory requirements necessary to pursue him
                                                                     in either forum. Doc . # 937 at 5 (citing 28
                                                                     U.S .C . §§ 754 and 1692) .
         lawsuit also asserts claims against real
         property located in Miami-Dade
                                                                        Finally, Trespalacios argues, he is entitled to
         County, Florida. In the Receiver's
         Complaint filed in Florida, no showing                      prevail on the merits in the event that this Court
         has occurred with respect to 28 U.S .C.                     reaches the Receiver's motion on the merits .
         §§ 754 or 1692 (2006) nor has the                           Doc. # 936 at 3-5 (he succeeded in the legal
         Receiver ever claimed in any                                proceedings against him, proceedings in which
         pleadings, documents or responses that
                                                                     he was alleged by the Government to be a Bio-
         she ever formally complied with either
         statute . Thus, the only allegations of                     Med officer and director, if not its agent) ; id. at
         jurisdiction are found in the state court                   4-11 (quoting trial testimony, including the
         complaint and assert jurisdiction as                        Receiver's, showing that "Trespalacios and his
         being proper in the Florida state court.                    related companies were agents of and/or related
                                                                     to Bio-Med and Martin Bradley") ; id. at 11 ("It
Doc . # 937 at 2-3 ¶ 3 . Trespalacios says he answered and
counterclaimed in the Florida court and invoked defenses             is undisputed that Trespalacios was an officer
under Florida law. Id. at 3 ¶ 4 .                                    and director of both Seratech, Inc . and Dena,
                                                                     Inc. Additionally, it is similarly undisputed that
  10 Normally, a receiver, with proper service, can obtain           Bio-Med Plus, Inc ., had controlling interests in
personal juri sdiction over anyone nationwide because                both entities") ; id. at 12 (citing Investors Ins .
"Congress has authorized nationwide service of process
under . . . the federal receivership statutes , 28 U.S .C. §§
                                                                     Group, Inc . v. Kling, 712 So .2d 1258, 1258-59
754 & 1692 ." Warfield v. Arpe, 2007 WL 549467, * 3                  (Fla .App . 1 Dist. 1998) (a parent company may
(N .D .Tex. 2/22/07) (unpublished) . The Receiver here               indemnify someone who was a director or
does not claim that she F .R.Civ.P . 4-served Trespalacios,          officer of a subsidiary corporation, if that person
Rivera or Griffin, over whom this Court otherwise lost               had taken the position at the request of th e
juri sdiction when they were acquitt ed.

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parent company; president of subsidiary was                             Finally, the Receiver asserts that
entitled to indemnification after successfully                       Trespalacios waived his right to claim
defending himself in suit for unpaid taxes,                          indemnification against receivership assets
interest, and penalties of subsidiary when he                        because he failed to comply with 18 U .S.C. §
was president)) . "                                                   1963(1) (requires a claimant to timely petition
                                                                     the court for a hearing to adjudicate the validity
   The Receiver responds that the debt                               of any claimed interest in RICO-forfeited
Trespalacios owes to Bio-Med is unconditional                        property) . Doc. # 957 at 5-6 .
and in the state court action he raised the
indemnification defense "as an afte rthought"                            The Court explored these and several more
just "to create the appearance that this issue was                    such arguments and counterarguments in
being litigated in another forum which had                           Bradley, 2007 WL 3132670, then cited S.E.C. v.
jurisdiction to decide the merits of this `claim . "'                Ross, 504 F .3d 1130 (9th Cir. 2007) (vacating,
Doc. # 957 at 4 . She also debates him on the                         for lack of personal jurisdiction, receivership
merits (i.e., whether he was a Bio-Med agent,                         action against individuals who were not parties
etc.). See doc. # 962 at 1-2 .                                       to an underlying SEC action), in examining the
                                                                     Receivership's (thus this Court's) jurisdiction in
   The Receiver also argues that this Court does                      a district where receivership property is located .
not need personal jurisdiction over Trespalacios                     Bradley, 2007 WL 3132670 at * 2 . Ross spoke
because it already has jurisdiction over Bio-                        to a receiver's duty to satisfy certain statutory
Med's property, and it is Trespalacios who is                         filing requirements in order to obtain court
claiming against it (by insisting on                                 jurisdiction over third parties and thus retrieve
indemnification, albeit as a defense in the                          property from them . 504 F .3d at 1145-48 .
aforementioned Florida action; and by resisting
the Receiver's quest for a judicial declaration,                        Since the Receiver had not addressed the
here, that he is disentitled) . Doc. # 957 at 5 .1 2                 "Ross" filing requirements, and (at the time) it
                                                                     may not have been prudent for the Receiver to
                                                                     continue this particular layer of litigation if in
   " However, "[a] person who serves as a director,
                                                                     fact she had succeeded in collecting all of the
offi cer , and employee of a wholly-owned subsidiary `at             forfeiture and sentencing obligations, the Court
the request of the parent corporation is not automatically           deferred ruling on this issue but ordered further
an agent of the parent." LAW OF CORP . OFFICERS & DIR . :            briefing. Bradley, 2007 WL 3132670 at * 3-4 .
INDEMN. & INS . § 6 : 10 (Testing scope of indemnification           The Receiver has since briefed the Ross issue.
statute--Insiders--Director 's service with another
                                                                     Doc . # 1070 . And it is likely, she insists, "that
corporation) (Feb . 2008) .
                                                                     receivership proceeds will be insufficient to
  12 Yes, Trespalacios points out, this Court may have               satisfy all Court-allowed liabilities ." Id. at 6.
personal jurisdiction over the convicted defendants and
Bio-Med's property, but not over Trespalacios, much less
his real property which secures the Bio-Med notes he
signed -- real property that is located in Florida . Doc . #
965 at 1-2 .                                                         to file a claim of any kind here) . SEC v. Elliott, 953 F .2d
                                                                      1560 (11th Cir. 1992), he contends, recognizes this set-off
   Furthermore, he contends, the Receiver chose to sue               right . The Receiver does not dispute, he points out, that
him on the notes in a Florida state court, and so he is free         she failed to comply with 28 U .S .C . § § 754 and 1692, and
to claim indemnification as a set-offwithout submitting to           that compliance is required to establish jurisdiction over
this Court's jurisdiction (i.e ., he has never been obligated        him in any event . Doc . # 965 .

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   In Ross, a receiver pursued non-parties to              504 F .3d at 1138 (quotes and cites omitted).
recover allegedly wrongful (securities laws
violation-based) payments that had been made                   28 U .S.C. § 754 and § 1692 work with
to them . The Ninth Circuit ruled that the                 F.R .Civ.P . 4(k)(1)(D) and contemplate that a
receiver was first required to obtain personal             receiver in effect "domesticate" her receivership
jurisdiction over them . Ross, 504 F.3d at 1141-           in any federal judicial district in which she
48. By failing to comply with 28 U .S.C. § 754             seeks to retrieve receivership estate property.
and § 1692, the receiver could not obtain district         "Domestication" occurs by filing a copy of the
court jurisdiction over those third parties for the        underlying complaint or indictment (from the
purpose of retrieving money or property                    case which generated the receivership ), along
belonging to the receivership estate . Id.                 with the order appointing her, in the district
                                                           court for each judicial district in which property
   The Ross court aptly summed up the core                 is located. The receiver must also post a bond
jurisdictional principles driving the dispute              "as required by the [domesticating] court," §
here:                                                      754, and ultimately a Rule 4(k)(1)(D) summons
                                                           issues for service upon those from whom the
  Inpersonam jurisdiction, simply stated, is               receiver seeks to retrieve such property .13
  the power of a court to enter judgment
  against a person . In rem jurisdiction is the
  court's power over property. Before a
                                                            13 Section 1692 provides :
  court may exercise the state's coercive
  authority over a person or property, some                         In proceedings in a district court where
  statute must autho rize the act. For state                        a receiver is appointed for property,
  courts, generally a state long-arm statute                        re al, personal, or mixed , situated in
                                                                    different districts, process may issue
  supplies all the authority that state courts
                                                                    and be executed in any such district as
  require. By contrast, there is no general                         if the property lay wholly within one
  federal long -arm statute, so federal courts                      district, but orders affecting the
  must look either to the long-arm statutes                         property shall be entered of record in
  of the state in which the court sits, Fed. R.                     each of such districts .
  Civ . P. 4(k)(1)(A), or to specific federal
                                                           28 U .S.C . § 1692 . But to invoke § 1692, a receiver must
  statutes, Fed. R. Civ. P . 4(k)(1)(B), (C),              first comply with § 754. S.E.C. v. Bilzerian, 378 F .3d
  (D) to authorize the exercise of                         1100, 1103 (D .C .Cir. 2004) . In relevant part § 754
  jurisdiction . Since Pennoyer v. Neff, 95                provides :
  U.S. 714, 733-34, 24 L.Ed . 565 (1877),
                                                                    A receiver appointed in any civil action
  the courts' ability to exercise personal
                                                                    or proceeding involving property, real,
  jurisdiction has been constrained by the                          personal or mixed, situated in different
  Due Process Clauses of the Fifth and                              districts shall, upon giving bond as
  Fourteenth Amendments . The                                       required by the court, be vested with
  requirement that a court have personal                            complete jurisdiction and control of all
                                                                    such property with the right to take
  jurisdiction represents a restriction on                          possession thereof.
  judicial power not as a matter of
  sovereignty , but as a matter of individual
  liberty .
                                                                    Such receiver shall, within ten days
                                                                    after the entry of [her] order of

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   Here the Receiver says that in the Southern             the requirements of § 754, a court may not
District of Florida federal court (presumably              exercise personal jurisdiction over persons who
Trespalacios's district) she filed copies of the           are served by a receiver that has failed to
Indictment in this case and this Court's Order             comply with § 754 ." Id. "By not complying
appointing her . Doc . # 1070 at 2 ¶ 1 . And, she          with § 754, a receiver fails to establish control
has attached copies of a 4/17/06-filed, "Notice            over receivership property and cannot effect
of Filing Indictment and Notice of Appointing              valid service of process under § 1692, which
Receiver and Monitor" with that court. Id., exh.           precludes using Rule 4(k)(1)(D) as a basis for
A ; see also doc. # 599 (this Court's 4/3/06               personal jurisdiction ." Id.
Order appointing her receiver) .
                                                              Evidently to get this Court to overlook these
   Ten days following the Receiver's Monday,               omissions (i.e., no bond and no proof of Rule
4/3/06 appointment in this Court is Thursday,              4(k)(1)(D) service upon Trespalacios), the
4/13/06. She filed her § 754 paperwork in the              Receiver first reminds that, "[l]ike any claimant
Florida federal court on 4/14/06, she says, see            to receivership property, the determination of
doc. # 1070 exh. A at 1 (that court' s filing              Trespalacios' entitlement to, and the amount (if
stamp is not legible, but her hand-date                    any) of, his Claim must be determined by this
certification is 4/14/06), though it was not               Court ." Doc. # 1070 at 9 . She then
entered until 4/17/06 . Id. F .R.Civ .P. 6(a)              distinguishes Ross because the receiver there
(exclude intervening weekends and holidays                 argued that nonparties violated federal law (and
from the computation) renders it timely in any             thus engaged in wrongdoing ), while
event.                                                     determining Trespalacios's defense-costs
                                                           entitlement here requires no adjudication of
   Yet, the Receiver makes no mention of, nor              wrongdoing. Id. Plus, she adds, Trespalacios
furnishes a copy of, any bond, let alone proof of          has received adequate due process (she served
Rule 4(k)(1)(D) service upon Trespalacios .                him with her motion to determine his
"Section 754 divests a receiver of jurisdiction            entitlement and he has briefed the issue) . She
over receivership property located in different            also reminds this Court of its "wide
districts if the receiver fails to post bond or            discretionary powers" in a receivership
comply with other obligations imposed by the               situation . Id. at 10.
statute ." War field, 2007 WL 549467 at * 11 .
                                                               Trespalacios again points out, inter alia, that
  And, "[b]ecause service of process under §               the Receiver is urging personal jurisdiction over
1692 is only authorized if the receiver has me t           him without first satisfying §§ 754 and 1692's
                                                           filing requirements . Doc . # 1096 at 1-2 . In that
                                                           regard, he has persistently objected to this
          appointment, file copies of the                  Court's jurisdiction. Id. at 2-4 ; doc. # 965 at
          complaint [here, the Indictment] and             4-6 ; # 937 at 6. And he remains not before this
          such order of appointment in the                 Court since his acquittal (i.e., he has not since
          district court for each district in which
          property is located. The failure to file
                                                           been served with new process) . Doc . # 1096 at
          such copies in any district shall divest         1-3 .
          her of jurisdiction and control over all
          such property in that district .                   This Court agrees that, absent full
                                                           compliance with § 1692, § 754 and Rule
28 U .S .C . § 754.

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4(k)(1)(D), this Court has no "receivership                declaratory (but not monetary) judgment14 that
jurisdiction" over Trespalacios . The Receiver             Trespalacios is not entitled to indemnification --
has failed to fully comply with these                      so that there (in state court) the Receiver can
requirements, and any F .R .Civ .P. 59(e)                  win a monetary judgment against him .
reconsideration motion from her should include
§ 754-bond and Rule 4-service documentation .                 Cagily, then, the Receiver has slipped into,
                                                           and thus seeks to exploit, legal ambiguity here .
   That leaves Trespalacios in possession of               No one cites, for that matter, any precedent for
receivership property (Bio-Med's money, from               this configuration, where one court -- without
Bio-Med's loan to him), with the Receiver                  personal jurisdiction over the affected
trying to collect it by way of a state court action        individual -- is asked to issue a ruling which
under state law, and not directly through a                informs the judgment of another court -- the one
federal action under federal law. At the same              with jurisdiction over that same individual .
time, the Receiver is asking a federal (this)
court to in effect declare that Trespalacios is not           All of that, of course, is too clever by a half .
entitled to indemnification (so therefore he must          The Receiver cannot deny that Trespalacios
repay the loan), even though :                             possesses money (the loan to him) that the
                                                           Receiver contends belongs to the receivership
  (a) Trespalacios is not before this Court                estate . In pursuing him for it (claiming that he
  via formal F.R.Civ .P. 4 service following               was never entitled to it in the first place and
  Receiver-compliance with 28 U.S.C. §§                    thus, he is not entitled to retain it or the benefit
  754 and 1692's requirements;                             of it), she obviously is seeking to collect
                                                           property (the loan proceeds) belonging to the
  (b) the Receiver is not asking this Court                receivership estate . That required her to secure
  for a money judgment for the amount of                   "receivership jurisdiction" over him in order to
  the loan (thus, in turn, enabling her direct             obtain a due-process-compliant judicial ruling
  effort to collect -- via execution of such               here . And that, in turn, required her to comply
  judgment -- the debt from him) ; yet,                    with §§ 754 and 1692 . Ross, 504 F .3d at 1145-
                                                           48; Warfield, 2007 WL 549467 at * 11 .
  (c) her quest for this Court's
  determination that Trespalacios is not
  entitled to indemnification obviously will
  inform and thus affect the state court's                  14 A declaratory judgment requires that
  ruling on whether Trespalacios is entitled
                                                                    (1) that plaintiff has a present bona fide
  to offset the value of his indemnification
                                                                    need for declaration; (2) that plaintiff is
  claim against Bio-Med against the                                 in doubt as to his rights; (3) that all
  Receiver ' s claims against him in that                           parties necessary to resolution of issues
  court.                                                            are presently before court; and (4) that
                                                                    plaintiff is not merely seeking legal
                                                                    advice, but is rather seeking a
  Boiled down, then, here the Receiver seeks a                      resolution of his rights regarding a
                                                                    present controversy.

                                                           26 C .J .S . DECLARATORY JUDGMENTS § 22 (Dec . 2007)
                                                           (citingln re Pro Greens, Inc., 305 B.R . 356 (Bankr . M .D .
                                                           Fla . 2003)).


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   To say that §§ 754 and 1692 can be ignored                     debt.
merely because no monetary judgment is
pursued in a liability adjudication (sought here,                 III. CONCLUSION
albeit labeled as an "entitlement" determination)
defeats basic due process protection against any                      Accordingly, the Court GRANTSthe 1/18/08
adverse judgments against those over whom a                       joint stay motion (doc . # 1106) and therefore
court otherwise has no personal jurisdiction.                     contemporaneously enters the "Agreed Order
Ross, 504 F .3d at 1145-46 . Federal-state-court                   [Etc.]" that has been filed as an attachment to it.
comity considerations aside, see generally 36                     Consequently, the Court DENIES without
C.J.S. FEDERAL CouRTS § 61 (Dec . 2007)                           prejudice the following motions (some can be
(discussing when federal courts should abstain                    renewed, depending upon the main appeal upon
so as not to interfere with state proceedings), a                 which the joint stay motion is premised) : # 993
judgment declaring no indemnification, which                      (Norma Bradley's motion for a hearing) ; # 1041
in turn would inform, if not enable, an adverse                   (tax refund turnover motion) ; # 1062 (Maria
money judgment against Trespalacios in state                      Bradley's Motion to Deposit Tax Refund in this
court, most certainly would be adverse to him .                   Court's Registry) ; and # 1075 (Martin J.
                                                                  Bradley's Motion to Stay Sale of Key West
   Accordingly, the Court grants Trespalacios's                   Property).
(and thus Rivera's15) motions to strike (doc . ##
937, 939, 1081) and, as to them, denies the                          Next, the Receiver' s extension -motion (doc .
Receiver's motion to determine entitlement.                       # 1094) is GRANTED, and the receivership is
Doc. # 925 .                                                      extended until further Order of this Court.

   Sara Griffin, in contrast, has actively                           In addition, the Receiver's Motion to
submitted to this Court's jurisdiction over her,                  Determine Entitlement to Indemnification (doc .
see Ross, 504 F .3dat 1147 ; doc . # 1074, and has                # 925) is , as to Jose A . Trespalacios and Edwin
shown (in a filing now unrebutted by both the                     Rivera, Jr ., DENIED, and the Court
Receiver and the Government) that she is                          GRANTS the Trespalacios/Rivera motions to
entitled to $255,357 .12 in legal costs . Doc. #                  strike it . Doc. ## 937, 939, 1081 .
1074 at 2. This is the amount that she claims to
have actually received -- paid directly to her                       In contrast, the Court GRANTS the
defense counsel -- under the $300,000 in                          Receiver's "entitlement" motion (doc . # 925) as
promissory notes that she gave to Bio-Med . Id.                   to Sara E . Griffin . Consequently, any and all
                                                                  appropriate court officials are therefore
  The Court thus grants the Receiver's                            authorized and directed to deem satisfied any
"entitlement" motion (doc . # 925) as to Griffin                  related, Griffin security deeds of record,
and determines that she is entitled to                            particularly the Griffin security deed located in
indemnification and thus owes Bio-Med n o                         Book 299 N, Page 590 in Chatham County,
                                                                  Georgia Superior Court on 12/27/05 . See doc.
                                                                  # 1074 at 5 (Proposed Order at 1) .
  15 The parties have treated Rivera as one who has been
riding Trespalacios's coattails here . The Court therefore          Some ministerial matters : The Monitor's
shall treat him likewise and assume the same facts (i.e .,        (Madison Associates, Inc .'s) motion (doc. #
that the Receiver failed to post a bond and Rule-4 serve          1067) to file the Monitor's reports directly with
him) apply, in which case the same ruling here applies .

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the Court is GRANTED . Its motion (doc . # This 25 day of January, 2008 .
1051) to file "under seal Report No . 14 dated
June 2, 2007 and to file a redacted Report No .
14" also is GRANTED . However, these matters
shall, absent a renewal (showing good-cause)
motion filed 90 days from now, be
automatically unsealed by the Clerk . See U.S.  13 . AVANT EDENFIELD, JUD E
v. Bradley, 2007 WL 1703232 ( S .D.Ga. UNITED STATES DISTRICT COURT
6/11/07) (unpublished) ; Snethen v. Board of SOUTHERN DISTRICT OF GEORGIA
Public Educ. for the City of Savannah and th e
County of Chatham , 2007 WL 2345247 at *1
(S.D.Ga. 8/15/07 ) (unpublished) .

  Next, the Government's motions (doc . ##
1104 & 1105) to approve Receiver and Monitor
compensation are GRANTED .

   Having tied up ever last loose end in this
case, the Court now considers itself divested of
further jurisdiction to act, so there should be no
further motions filed here . The Clerk shall
promptly transmit a copy of this opinion to the
Eleventh Circuit.
